                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION

AMY SPARKS, individually, and                 )
ROBERT D. SPARKS, as Personal                 )
Representative of the Estate of Jarred B.     )
Sparks,                                       )
                                              )
                       Plaintiffs,            )
                                              )
v.                                            )      JUDGMENT
                                              )      No. 5:13-CV-649-FL
OXY-HEALTH, LLC and OXY-                      )
HEALTH CORPORATION,                           )
                                              )
                       Defendants.            )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge, for
consideration of the defendants’ motion for summary judgment.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered
September 15, 2015, and for the reasons set forth more specifically therein, that defendants’ motion
for summary judgment is granted.

This Judgment Filed and Entered on September 15, 2015, and Copies To:
Justin D. Bice (via CM/ECF Notice of Electronic Filing)
Thomas David Hoyle (via CM/ECF Notice of Electronic Filing)
William Christopher Swett (via CM/ECF Notice of Electronic Filing)
Douglas W. Rennie (via CM/ECF Notice of Electronic Filing)
Kevin Lee Chignell (via CM/ECF Notice of Electronic Filing)
Melanie Black Dubis (via CM/ECF Notice of Electronic Filing)
Timothy C. Ammer (via CM/ECF Notice of Electronic Filing)


September 15, 2015                    JULIE RICHARDS JOHNSTON, CLERK
                                        /s/ Christa N. Baker
                                      (By) Christa N. Baker, Deputy Clerk




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